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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )                        Civil Action No. 2:12-cv-00859
                                    )                        Section I, Division 5
MARLIN N. GUSMAN, ET AL,            )                        Judge Lance M. Africk
Defendants                          )                        Magistrate Judge Michael B. North
___________________________________ )
                                    )
MARLIN N. GUSMAN,                   )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)


                     PLAINTIFF CLASS’ SUR-REPLY IN RESPONSE TO
                    CITY’S REPLY IN SUPPORT OF MOTION FOR STAY

        The Plaintiff Class respectfully files this Sur-Reply in response to the City of New Orleans’

Reply in Support of Motion for Stay. 1

        I.       Introduction

        The City’s Reply raises new arguments that were not contained in its Motion for Stay. 2

This continues “a frustrating recent pattern of practice in this case,” 3 despite prior admonition by




1
  ECF No. 1431. The Plaintiff Class adopts and incorporates its prior Response to the City’s Motion. ECF No. 1426.
2
  ECF No. 1430.
3
  Id.
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this Court 4 and the clear jurisprudence of this Circuit as to waiver. 5 On the basis of this

jurisprudence, the Plaintiff Class respectfully requests that this Court find all new arguments raised

by the City in its Reply to be waived. To the extent this Court considers the City’s new arguments

on their merits, these arguments should be rejected and the Motion for Stay denied.

         In responding to the City’s Reply, the Plaintiff Class begins from three important and

coordinated premises, all supported by the record of this case: (1) this Court did not order the

construction of the Phase III facility – the City of New Orleans committed itself to the 2016

Stipulated Order 6 and to the January 2017 Supplemental Compliance Action Plan, 7 as provided

for by ¶ D.22 of that Order; (2) the Prison Litigation Reform Act (PLRA), and specifically 18

U.S.C. § 3626(a)(1)(c), is not implicated where a party contractual consented to an agreed-upon




4
  ECF No. 1320 (“In its reply brief [in support of its Motion for Relief from Court Orders], the City raised an argument
that it had not previously raised – that the PLRA prohibits the Court from ordering the City to build a jail. While the
Court earlier indicated that it would not entertain sur-reply briefs, it did not anticipate at that time that the City would
make a new, allegedly dispositive[] argument for the first time in its reply brief.”); ECF No. 1385 (Report and
Recommendation) at 27-30; ECF No. 1396 (Order and Reasons) at 4 (“the Court finds that new arguments first raised
by the City in its reply brief, as well as those not initially made before the U.S. Magistrate Judge, are deemed waived.
Notwithstanding the waivers, the U.S. Magistrate Judge’s alternative disposition on the merits of these untimely
arguments is affirmed.”).
5
  See, e.g., Bolton v. United States, 946 F.3d 256, 262 (5th Cir. 2019) (“[a]rguments raised for the first time in a reply
brief are waived”); Jones v. Cannizzaro, 2021 WL 218040, at *5, n.22 (E.D. La. Jan. 21, 2021) (“Defendant’s
arguments that this opinion is not relevant were not raised until its reply brief. ‘Arguments raised for the first time in
a reply brief are generally waived.’ Jones v. Cain, 600 F.3d 527, 541 (5th Cir. 2010).”). See also ECF No. 1385 (Report
and Recommendation) at 27 (“Apparently seizing on the fact that it wasn’t required to seek leave to file a reply brief
and that I would not allow sur-reply briefing, the City filed a 31-page reply brief, attaching 13 new exhibits and making
an entirely new, allegedly dispositive argument for the first time. Right out of the gate, the City exclaimed in bold-
faced type: The Court’s March 18, 2019 Order violates the Prisoner Litigation Reform Act (“PLRA”) because the
PLRA prohibits the Court from Ordering the construction of prisons. This pronouncement, and the argument that
followed, was surprising for a number of reasons. First and foremost was that it had not been made in the City’s
motion, and as we should all know, an argument made for the first time in a reply brief is, in this circuit, waived,”
citing Hamstein Cumberland Music Group v. Williams, 532 Fed.Appx. 538, 543 n.4 (5th Cir. 2013) (citing Medina
Cnty. Envtl. Action Ass'n v. Surface Transp. Bd., 602 F.3d 687, 702 (5th Cir. 2010)) and Alaniz v. Zamora–Quezada,
591 F.3d 761, 777 (5th Cir. 2009) (citing Peteet v. Dow Chem. Co., 868 F.2d 1428, 1437 (5th Cir. 1989)) (internal
citations and formatting omitted)).
6
  ECF No. 1082 at 14-15, 20.
7
  ECF No. 1106.

                                                             2
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remedy, including the construction of a jail facility; 8 and (3) the City of New Orleans has not

sought, pursuant to the PLRA or otherwise, to modify or terminate the Consent Judgment entered

by this Court in 2013, rendering inapplicable much of the statutory, procedural, and case authority

on which the City attempts to rely.

         II.      The City has never moved this Court pursuant to 18 U.S.C. § 3626(b). Any reliance
                  on the automatic stay provision of 18 U.S.C. § 3626(e) is inapplicable.

         In Reply in Support of its Motion for Stay, the City – for the first time ever – purports that

the automatic stay provision of 18 U.S.C. § 3626(e) was triggered by the City’s filing of its Motion

for Relief from Court Orders, commencing on December 26, 2020 (180 days after this filing) and

lasting until January 25, 2021 when this Court entered its Order and Reasons denying the City’s

Motion. The entirety of this assertion is inapposite because the City’s original Motion for Relief

did not move for relief under this statute (the PLRA); 9 to the contrary the City’s filing specifically

cited Fed. R. Civ. P. 60 as the vehicle for the relief it sought. 10 Further, even if this automatic stay

provision had been in play, the alleged stay is not in effect now; it did not have any procedural

effect when it ostensibly was in effect; and it has no bearing on any of the factors related to a stay



8
  See, e.g., Plata v. Schwarzenegger, No. C01-1351 THE, 2008 WL 4847080, at *5 (N.D. Cal. Nov. 7, 2008) (rejecting
defendants’ argument that the PLRA barred the court from ordering correctional facility construction, even after
defendants had previously agreed to that remedy: defendants “both consented to the Receiver’s plans and allocated
funding that can be used to further those plans”).
9
  18 U.S.C. § 3926(e) applies only to “motion[s] to modify or terminate prospective relief made under subsection (b)”
of the statute. The City has never filed a motion for relief under subsection (b) of the PLRA.
10
   See ECF No. 1281-1 at 1, 3-4. On June 29, 2020, the City filed its Motion for Relief from Court Orders, praying
that the Court “indefinitely suspend[] the programming, design and construction of a new Phase III jail facility.” ECF
No. 1281 at 1. The City did not cite to 18 U.S.C. § 3626(e) or the PLRA a single time in its original motion. Even
when the City attempted to raise the PLRA in its reply brief on the Motion for Relief, the waived (and also denied)
argument was based on 18 U.S.C. § 3626(a)(1)(C) with no mention of the provisions of 18 U.S.C. § 3626(e). The stay
provisions of 18 U.S.C. § 3626(e) were not applicable to the City’s Motion because the Orders from which the City
sought relief were not prospective relief orders contemplated by the statute. See supra at 2-3 for three premises
underpinning this Sur-Reply. Further, the City’s argument in their Motion for Relief quoted the full text of Rule 60(b)
of the Federal Rules of Civil Procedure, related to “Grounds for Relief from a Final Judgment, Order, or Proceeding.”

                                                          3
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pending appeal.

         Throughout the month of December 2020, the City represented to the Court that work was

proceeding on the Phase III facility and made no mention of an automatic stay. On December 14,

2020, twelve days before the City’s alleged stay, the Magistrate held a status conference at which,

among other things, the Court requested the City to provide confirmation that work was ongoing

on the construction of the Phase III facility. 11 The City Attorney made no mention of any stay, but

rather committed to determine the status of work from the City’s director of capital projects and

to file a letter outlining the progress. 12 On December 21, 2020, five days before the alleged stay

took effect, the City filed a status update regarding the Phase III facility. 13 According to a City

memorandum filed as an exhibit to that update, “the City is taking immediate steps to further

engage the Architect in the completion of design work.” 14 Again, the City made no mention of a

stay. On December 22, 2020, four days before the alleged stay, the City filed fifty (50) pages of

objections to the Magistrate’s Report and Recommendations. 15 The City never raised the allegedly

impending stay. The reason the City never raised the automatic stay is because there was never a

stay in effect.

         But even if 18 U.S.C. § 3626(e) was somehow at issue, and even if there had been an

automatic stay in effect, the City fails to explain how or why this alleged stay goes to any of the

elements of a stay during the pendency of an appeal. 16 The automatic stay provisions of 18 U.S.C.


11
   ECF No. 1387.
12
   Id.
13
   ECF No. 1388.
14
   ECF No. 1388-1.
15
   ECF No. 1389.
16
   The City’s original brief on appeal was due yesterday, April 21, 2021, but no ECF confirmation had been provided
to counsel for the parties before the deadline elapsed. Today, the City filed a motion for leave to file its brief out of
time, citing an error in the processing of its electronic filing. The Fifth Circuit has yet to rule on this motion.

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§ 3626(e) are only narrowly applicable in the time period before a court issues a final ruling on a

motion “made under subsection (b)” of the statute. The City cites to Miller v. French 17 perhaps to

suggest that the Supreme Court interpreted 18 U.S.C. § 3626 (e) to represent a broad impingement

on the equitable powers of courts. 18 But the Miller Court is clear that such a broad reading of the

statute would be impermissible: “we should not construe a statute to displace courts' traditional

equitable authority absent the clearest command, or an inescapable inference to the contrary . . .

[.]”19 Accordingly, the Miller Court is explicit in the narrowness of its holding: “[t]he PLRA does

not deprive courts of their adjudicatory role, but merely provides a new legal standard for relief

and encourages courts to apply that standard promptly.” 20 Miller is clear that, even if the stay

provisions of 18 U.S.C. § 3626 (e) were at issue in this case, such a stay only operates prior to the

entry of the court’s findings, and has no bearing on the merits of a motion for stay pending appeal.

        Thus, given the procedural and factual history of litigation of the City’s Motions for Relief

from Court Orders and for Stay, the City’s reliance on 18 U.S.C. § 3626(e) is utterly inapposite,

verging on frivolous.




17
   Miller v. French, 530 U.S. 327, 120 S. Ct. 2246, 147 L. Ed. 2d 326 (2000).
18
   ECF No. 1431 at 8.
19
   Miller v. French, 530 U.S. at 340 (2000) (internal quotations omitted.)
20
   Miller v. French, 530 U.S. at 350 (2000).
                                                         5
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         III.      A municipal charter cannot contravene an agreement of parties, including the
                   municipality, to settle an enforcement action for ongoing violations of a consent
                   judgment. Relatedly, a municipal charter does not supersede the orders of a Federal
                   Court to progress such an agreement.

         The City argues that “building the Phase III facility requires approvals mandated by the

City’s Home Rule Charter, which the City has not obtained,” 21 appearing to suggest that the City’s

own inaction relative to a zoning variance to be evaluated by the City Planning Commission and

approved by the City Council somehow relieves the City of its negotiated and agreed-upon

obligations under the Stipulated Order and the Supplemental Compliance Action Plan, not to

mention its statutory requirement to fund a good and sufficient jail. 22 Unsurprisingly, the City cites

no authority for the proposition that its City Council is “empowered by City Charter to invalidate

this Court’s orders and its own contractual obligations by refusing to approve a zoning variance.”23

The Plaintiff Class will briefly discuss the robust jurisprudential support for the contrary position

below. 24

         The breadth of remedial power available to Federal courts to correct constitutional

violations, and to enter and enforce consent agreements, is well-established. 25 In the Eastern


21
   ECF No. 1431 at 12. See also ECF No. 1410-1 at 7, 11 n.47 (City’s Memorandum in Support of Motion for Stay).
22
   “It is a principle of fundamental justice that if a promisor is himself the cause of the failure of performance, . . . , he
cannot take advantage of the failure.” Lozano v. Metropolitan Transit Authority of Harris County, No. H-14-1297,
2016 WL 3906295, at *8 (S.D. Tex. Jul. 19, 2016), quoting In re Deepwater Horizon, 786 F.3d 344, 361 (5th Cir.
2015). As further detailed in the Plaintiff Class’ Response to the City’s Motion for Stay, ECF No. 1426 at 2-7, the
City committed to the Stipulated Order (and its ¶ D.22) in 2016, after which the Supplemental Compliance Action
Plan was filed in January 2017 as to the construction of the Phase III facility. On May 18, 2017, the New Orleans City
Council voted 5 to 1 in favor of passing the motion to present the Phase III plan to the City Planning Commission.
And since that time, the City has moved forward with contracting, resource expenditure, and extensive development
of the Phase III facility.
23
   ECF No. 1430 at 1.
24
   The United States Constitution (Article VI, Clause 2) itself provides clear direction: “This Constitution, and the
Laws of the United States . . . , shall be the supreme Law of the Land; and the Judges in every State shall be bound
thereby, any Thing in the Constitution or Laws of any State to the Contrary notwithstanding.”
25
   See, e.g. U.S. v. Alcoa, Inc., 533 F.3d 278, 286 (5th Cir. 2008) (finding that “consent decrees are more than
contracts,” “[t]hey are also enforceable judicial orders,” instructing “that district courts have the power and ordinarily

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District of Louisiana, fair housing litigation brought against St. Bernard Parish is instructive. In

December 2008, the Greater New Orleans Fair Housing Action Center (GNO) and an intervenor-

plaintiff filed a motion to enforce, alleging that an ordinance passed by the St. Bernard Parish

Council in September 2008 violated a previously-entered consent order. 26 The ordinance at issue

had placed a moratorium on the construction of multi-family housing, and the plaintiffs contended

this action was racially discriminatory and had been taken in violation of the Fair Housing Act and

the consent order. Following an evidentiary hearing, the court concluded that the ordinance had a

disparate racial impact on African-Americans, and also found that the Parish’s and the Council’s

intent in enacting the moratorium had been discriminatory. In granting the plaintiffs’ enforcement

motion, the court ordered “that the Defendants St. Bernard Parish and St. Bernard Parish Council

shall rescind Ordinance SBPC # 905-09-98, its moratorium on all housing developments with five

or more units,” and that defendants be immediately enjoined from enforcing the ordinance until it

was rescinded. 27

        Months later, the plaintiffs once again moved for enforcement of the consent order, alleging

that the defendants’ conduct since the March 2009 order constituted a further violation of the

consent order: in April 2009, the Parish Planning Commission had denied the plaintiffs’

application to re-subdivide, thereby enacting the same discriminatory practice as the now-



must hold parties to the terms of a consent decree,” and further noting that district courts “have wide discretion to
enforce decrees and to implement remedies for decree violations”). See also Swann v. Charlotte-Mecklenburg Bd. of
Ed., 401 U.S. 1, 15 (1971) (“Once a right and a violation have been shown, the scope of a district court’s equitable
powers to remedy past wrongs is broad, for breadth and flexibility are inherent in equitable remedies.”); Milliken v.
Bradley, 433 U.S. 267, 282 (1977) (“where, as here, a constitutional violation has been found, the remedy does not
‘exceed’ the violation if the remedy is tailored to cure the ‘condition that offends the Constitution.’”).
26
   A consent order entered in February 2008 had “settled plaintiffs’ allegations that defendants violated the Fair
Housing Act of 1968 . . . in enacting several housing ordinances. Greater New Orleans Fair Housing Action Center v.
St. Bernard Parish, 641 F.Supp.2d 563, 565 (E.D. La. Mar. 25, 2009).
27
   Id. at 578.

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rescinded moratorium. 28 Further, the plaintiffs alleged that the Parish Council and the Planning

Commission had injected improper concerns into otherwise routine re-subdivision requests.

Following another evidentiary hearing, the court granted the plaintiffs’ motions for enforcement

and contempt, finding that (1) the defendants’ conduct, by subverting the re-subdivision process,

had a discriminatory effect on African-Americans and therefore violated the Fair Housing Act and

the terms of the 2008 Consent Order, 29 and (2) the objections raised by the Planning Commission

and the Parish Council (to the re-subdivision application) were irrelevant and pretextual. 30 The

court ordered that the re-subdivision applications be placed on the agenda for the next calendar

Planning Commission hearing. 31

         Thus, as illustrated by these remedial measures of the Greater New Orleans Fair Housing

Action Center litigation, it is clearly within the purview of Federal courts to direct local political

subdivisions to take specific action related to legislative and zoning decisions where such action

is necessary to enforce compliance with previously-entered consent agreements. Such remedial

orders may even include rescinding of a Parish Council ordinance and scheduling of zoning

applications for consideration by a Parish Planning Commission.

         Greater New Orleans Fair Housing Action Center emerges from decades of jurisprudence

as to remedying violations of Federal constitutional and statutory rights to be free of racial

discrimination in the provision of housing. 32 One needs only look to Village of Arlington Heights


28
   Greater New Orleans Fair Housing Action Center v. St. Bernard Parish, 648 F.Supp.2d 805 (E.D. La. Aug. 17,
2009).
29
   Id. at 821.
30
   Id.
31
   Id.
32
   While the body of case law surrounding the remediation of racial discrimination in housing is especially applicable
to the zoning argument advanced by the City, one could also look to the history of Federal court action to address
constitutional violations and breaches of corrective orders in the context of school desegregation, which also impacts

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et al. v. Metropolitan Housing Development Corporation et al., 33 its subsequent procedural history,

and its progeny to locate plentiful support for the role Federal courts must play in the remediation

of rights violations, including through orders directing the action of local political subdivisions

responsible for the perpetuation of such violations.

         In 1971 the Metropolitan Housing Development Corporation (MHDC) had applied to the

Village of Arlington Heights, Illinois, for rezoning of a parcel of land from single-family to

multiple-family, intending to build low- and moderate-income housing. The Village denied the

rezoning request, and MHDC, along with other plaintiffs, sued the Village, alleging that the denial

was racially discriminatory and violated the Fourteenth Amendment as well as the Fair Housing

Act of 1968. 34 Following remand from the United States Supreme Court, the Court of Appeals

held that “the Village of Arlington Heights ha[d] a statutory obligation under the Fair Housing Act

. . . to refrain from the perpetuation of zoning policies that effectively foreclosed construction of

low-cost housing within its boundaries,” 35 and further remanded the case for the district court to

determine whether there was land within the municipality that was properly zoned and suitable for

subsidized housing. If not, the Village’s refusal to rezone the development site would violate the

Fair Housing Act and the plaintiffs would be entitled to the affirmative relief they sought – the



local functions such as those of boards of education. See, e.g., Dayton Bd. of Ed. V. Brinkman, 433 U.S. 406, 419-20
(1977) (recognizing the power of federal courts “to restructure the operation of local and state government entities”
on the basis of a constitutional violation); U.S. v. Lawrence County School Dist., 799 F.2d 1031, 1043 (5th Cir. 1986)
(holding “the remedial power of a federal court that adopts a desegregation plan is not thereafter limited to enforcement
of the details of the original plan,” and if “it becomes evident that an integrated school system cannot be achieved
simply by directing adherence to the original plan, the court may consider remedial measures that are designed to
restore the victims of segregation to the position they would have occupied absent both the original discriminatory
conduct and the aggravation of it by school authorities’ failure to comply with corrective orders”).
33
   429 U.S. 252 (1977).
34
   Id. at 254.
35
   Metro. Hous. Dev. Corp. v. Village of Arlington Heights, 469 F. Supp. 836, 842–43 (N.D. Ill. 1979), aff'd, 616 F.2d
1006 (7th Cir. 1980), citing Metro. Hous. Dev Corp. v. Village of Arlington Heights, 558 F.2d 1283 (7th Cir. 1977).

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rezoning of the site to permit construction.

         While recognizing that “local authorities have the primary responsibility for dealing with

local matters,” the district court found that “if local authorities fail in their affirmative obligations

under federal law, judicial authority may be invoked.” 36 The court concluded that, its power having

been properly invoked in the case, it could order “site-specific affirmative relief, based on the

statutory violation alleged in the complaint.” 37 In entering its consent decree, the district court

specifically ordered, among other remedies, that the Village of Arlington Heights (1) adopt an

ordinance annexing properties described in the order, and (2) adopt amendments to its zoning and

related ordinances to reclassify the properties. The amendments and changes to the zoning

ordinance, other ordinances, and the zoning documents were to be accomplished “without further

notice or hearing or proceeding.” 38 “In this decision, the court attempted to the best of its abilities

to use its broad and flexible equity powers to fashion a result that would do justice to all

concerned.” 39

         Lastly, review of the district court’s actions in Spallone v. United States 40 further elucidate

the broad powers of the Federal bench to direct a party’s compliance with previously-entered

consent agreements. In this suit brought against the city of Yonkers and its Community

Development Agency for intentionally enhancing racial segregation in housing, the district court

concluded that the defendants had violated the Fair Housing Act and the Fourteenth Amendment,




36
   Id. at 852-53, citing Milliken v. Bradley, 433 U.S. 267, 280-81 (1977).
37
   Id. at 853.
38
   Id. at 870.
39
   Id. at 869.
40
   493 U.S. 265 (1990).


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and entered a remedial decree enjoining the defendants from promoting racial residential

segregation and requiring affirmative steps be taken by the city to disperse public housing. 41 After

the appellate court upheld the district court’s judgment, the parties consented to an agreement that

set forth actions the city would take to implement the affirmative portions of the court’s remedial

decree. Such actions included the adoption of legislation directing zoning changes. 42 When “the

city continued to delay action toward implementing the long-term plan,” the district court entered

an order requiring the city to enact the legislative package described in the earlier consent

agreement, and further outlined daily fines that would be leveraged in the event of contempt. 43

Despite these directives, the city council voted to defeat the agreed-upon legislative package, and

the district court held both the city as well as the individual councilmembers in contempt. On

certiorari, the United States Supreme Court concluded that the district court “should have

proceeded with such contempt sanctions first against the city alone in order to secure compliance

with the remedial order.” 44

         Thus, Federal courts possess broad and flexible remedial powers to address constitutional

and statutory violations, to enter consent agreements, and to progress such agreements when

inaction or breach occurs, including through measures that impact or direct local parish and/or

municipal functions.




41
   Id. at 268-69.
42
   Id. at 270.
43
   Id. at 271.
44
   Id. at 280.
                                                 11
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         IV.       In arguing its likelihood of success on the merits of its appeal, the City’s Reply
                   again misstates the factual record of this case and misconstrues the case law of this
                   Circuit.

         The Plaintiff Class cannot leave the City’s new misrepresentations of fact and law

unanswered, 45 and will briefly address those included in the Reply:

         •     The City misapplies and misrepresents 46 the holding in Ruiz v. Estelle. 47 As an initial

               matter, the procedural posture in Ruiz is entirely distinct from the procedural posture

               in this matter. Ruiz was an appeal of a motion for stay pending the appellate review of

               the District Court’s injunction to remedy conditions in the Texas Department of

               Corrections. 48 Despite a belated argument to the contrary, 49 there is no pending appeal

               on any injunction in the instant case. 50 Setting aside the procedural gulf that

               distinguishes Ruiz from the instant case, the City ignores the context of the quoted

               language that clearly contemplates the necessity of construction and the importance of

               the stay to facilitate and speed construction to remedy the causes of constitutional rights

               violations. 51


45
    The Plaintiff Class continues to rely on its previous briefing regarding the inapplicability of 18 U.S.C. §
3626(a)(1)(C) to the Stipulated Order, and the clear applicability of Plata v. Schwarzenegger, No. C01-1351 THE,
2008 WL 4847080, at *5 (N.D. Cal. Nov. 7, 2008), to the City’s extraordinary position that they are not bound by a
negotiated consent agreement. See ECF No. 1327; ECF No. 1393 at 10–12.
46
   ECF No. 1431 at 13–14.
47
   650 F. 2d 555 (5th Cir. 1981).
48
   Id. at 558-9.
49
   ECF No. 1431 at 6-7.
50
   See supra at 2; ECF No. 1426 at 2-12.
51
   “With the need being so urgent for new facilities to alleviate inmate overcrowding, it is in the interest of all parties
and the public that the location requirements of the district court’s order be stayed.” Ruiz, 650 F. 2d at 574. See also
ECF No. 1426 at 18-19, discussion of Ruiz in Plaintiff Class’ Response. Additionally, as a practical matter, the City’s
chosen language from Ruiz – on its face – militates in favor of the Phase III facility in its emphasis on the importance
of allowing entities responsible for running the facility to determine size and managerial structure of the facility. The
Compliance Director was tasked with operating the jail and developing the plan for the management of special
populations through the Stipulated Order. ECF No. 1082. The plan, size, and managerial structure developed by the
Compliance Director, in direct consultation with the City and the Sheriff’s Office, was the Phase III facility. ECF No.

                                                           12
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         •   The City misrepresents the testimony of William Snowden regarding the population of

             people with mental health needs in the jail. 52 William Snowden is not a medical doctor

             nor a healthcare provider, and he does not work in the Orleans jail; as such, he is not

             able to offer credible testimony or evidence as to the number of people in the jail with

             acute and subacute mental health needs. In fact, the City’s representation of a

             significant decline is directly contrary to another of the City’s witnesses, Dr. Rouse,

             the lead psychiatrist at the jail. Dr. Rouse testified that the proportion of people in the

             jail with serious mental illness has in fact increased. 53

         •   The testimony offered by Dr. Kottraba does not establish a “high level” of health care

             delivered to people at the jail. 54 Dr. Kottraba has been to the Orleans jail one time.55

             As an executive for the company holding the contract to provide medical services at

             the jail, she is simply not in a position to provide credible testimony as to the state of

             medical and mental health care, particularly when that testimony is at odds with the

             findings of this Court’s Independent Monitors. 56

         •   The City’s suggestion that Tulane psychiatrists performing suicide watch




1109.
52
   ECF No. 1431 at 11.
53
   According to the testimony of Dr. Rouse, “we’re at 477 patients taking psychiatric medications, which is greater
than it was before COVID.” ECF No. 1367, Tr. 10/8/2020, 166:23-167:6; see also ECF No. 1393 at 4–6, Plaintiff
Class’ Response to City’s Objections, for further discussion of the flaws in the City’s argument that population
reduction represents a changed circumstance.
54
   ECF No. 1431 at 11, 15.
55
   ECF No. 1367, Tr. 10/8/2020, 73:9-12.
56
   See Report No. 12 of the Independent Monitors, ECF No. 1303 at 64-66; Report No. 13 of the Independent Monitors,
ECF No. 1404 at 9-10, 14; Trans. 3/8/21 at 25:4-26:6. Dr. Kottraba’s testimony on the National Commission on
Correctional Healthcare (NCCHC) is irrelevant. The NCCHC is not the arbiter of compliance with the Consent
Judgment, nor is it an arbiter of constitutionally-sufficient care. See ECF No. 1362 at 5, Plaintiff Class’ Post-Hearing
Brief, for further discussion.

                                                          13
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             assessments 57 mitigates the problem of untrained deputies conducting, or failing to

             conduct, suicide precautions in structurally dangerous settings only serves to

             demonstrate the City’s misconception of what is necessary to keep the people it holds

             in its jail safe from self-harm. 58

         •   The City’s suggestion that the current state of somatic healthcare at the jail is

             adequately met by University Medical Center 59 flies in the face of testimony and

             evidence submitted by the City’s own expert, Dr. Shansky. Dr. Shansky specifically

             testified to the importance of Orleans jail medical providers 60 having admitting and

             discharge privileges, as well as access to a secure ward dedicated exclusively to patients

             form the Orleans jail. 61 The arrangement the City describes in its Reply does not

             comply with the Consent Judgement and continues to present a risk of harm to anyone

             with serious medical needs in the jail.

         •   The City’s argument based on COVID-19 reductions in revenue 62 continues to

             completely ignore the independent, unaffected FEMA funding for construction of the

             Phase III facility.

         Despite these continued misrepresentations of fact and law, the City remains unable to




57
   ECF No. 1431 at 15.
58
   See ECF No. 1393 at 6, Plaintiff Class’ Response to City’s Objections, for full discussion of Dr. Rouse’s testimony
on the extremely limited aspects of the Consent Judgment provisions for which Tulane Psychiatry has responsibility.
See also ECF No. 1426 at 20, Plaintiff Class’ Response to City’s Motion for Stay, for full discussion of the
insufficiency of suicide prevention measures at the jail described by the Independent Monitors.
59
   ECF No. 1431 at 15-16.
60
   The City references Tulane physicians. The Plaintiff Class is unsure what the City means by this reference, but notes
that Tulane is only contracted to provide psychiatrists, not somatic physicians.
61
   See ECF No. 1366, Tr. 10/7/2020, 164:1-8, 167:5-19; ECF No. 1281-7 at 3-4; ECF No. 1366, Tr. 10/7/2020, 137:1-
21. See also ECF No. 1393 at 7, Plaintiff Class’ Response to City’s Objections, for further discussion of how somatic
care is not provided at OJC.
62
   ECF No. 1431 at 11.
                                                          14
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establish likely success on the merits of its appeal.

       V.      Conclusion

       As detailed above, and in the Plaintiff Class’ Response to the City’s Motion, the City is not

entitled – procedurally or substantively – to a “stay” of this Court’s Order and Reasons pending

appeal. The Plaintiff Class respectfully requests that the Court deem waived all new arguments

raised by the City in its Reply. Further, the Plaintiff Class respectfully request that the City’s

Motion for Stay be denied.



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